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Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 1 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 2 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 3 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 4 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 5 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 6 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 7 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 8 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 9 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 10 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 11 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 12 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 13 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 14 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 15 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 16 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 17 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 18 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 19 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 20 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 21 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 22 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 23 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 24 of 25
Case 1:17-cv-00100-LRR-CJW Document 1 Filed 09/12/17 Page 25 of 25
